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   MINUTE ENTRY
   TERRY A. DOUGHTY
   UNITED STATES DISTRICT JUDGE
   May 17, 2023
                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                      MONROE DIVISION


   STATE OF MISSOURI ET AL                                CASE NO. 3:22-CV-01213

   VERSUS                                                 JUDGE TERRY A. DOUGHTY

   JOSEPH R BIDEN JR ET AL                                MAG. JUDGE KAYLA D. MCCLUSKY

          On Friday, May 26, 2023, oral arguments will be heard in this matter on the pending

   Motion for Preliminary Injunction [Doc. No. 10] filed by Plaintiffs. Each side will have one

   hour of argument, beginning with Plaintiffs. Plaintiffs may reserve part of this time for their

   rebuttal. If necessary, the parties may split up their arguments between attorneys as they see fit.

   The parties shall be prepared to answer questions from the Court. The time for asking and

   answering questions will not be included in the one-hour time limit for arguments.

          The arguments will begin at 9:00 a.m. C.S.T. in Monroe, Louisiana, in the second-floor

   courtroom. The proceedings will be open to the public. The use of recording devices is not

   allowed for any reason.

                                                  TAD
